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           EXHIBIT 22
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                                    UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF NEW YORK

    IN RE: Acetaminophen – ASD-ADHD
    Products Liability Litigation                                                   22-md-3043 (DLC)

    This Document Relates To: All Actions


      RULE 26 EXPERT REPORT SUPPLEMENT OF BRANDON PEARSON, MS, PhD

       The following supplement to the Rule 26 Expert Report of Brandon Pearson, MS, PhD is
provided pursuant to Federal Rule of Civil Procedure 26(e)(2).

        This supplement addresses Klein et al., Gestational paracetamol exposure induces core
behaviors of neurodevelopmental disorders in infant rats and modifies response to a cannabinoid
agonist        in       females,       Neurotoxicology         and        Teratology       (2023),
https://doi.org/10.1016/j.ntt.2023.107279 (Klein et al., 2023), which will appear in the
forthcoming September-October 2023 issue of Neurotoxicology and Teratology. A Journal Pre-
proof of this new study (attached hereto as Exhibit 1) became available following disclosure of my
expert opinions in this case.1

       Klein et al., 2023 is included in my Weight of Evidence analysis. Accordingly, I have
provided a brief summary of this new study and evaluated the key parameters using the
methodology and scoring table described in my expert report. I have also provided updated
versions of the in vivo rat studies table (see Rule 26 Expert Report of Brandon Pearson, MS, PhD,
at 83) and the Evidence for DNT Rat Studies graphic (see Rule 26 Expert Report of Brandon
Pearson, MS, PhD, at 99), which incorporate this new study.

       All opinions stated herein are offered to a reasonable degree of scientific certainty and are
incorporated by reference into my previously disclosed expert report.




1
    The Journal Pre-proof of Klein et al., 2023 provides the following disclaimer:

           This is a PDF file of an article that has undergone enhancements after acceptance, such as the
           addition of a cover page and metadata, and formatting for readability, but it is not yet the definitive
           version of record. This version will undergo additional copyediting, typesetting and review before
           it is published in its final form, but we are providing this version to give early visibility of the article.
           Please note that, during the production process, errors may be discovered which could affect the
           content, and all legal disclaimers that apply to the journal pertain.

(See Exhibit 1 at 1.) In the event that the final, published version of this study contains any material changes from the
Journal Pre-proof, I reserve the right to review any such data and revise or supplement my report and opinions
accordingly.

                                                                1
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                                    Strain/                    Exposure          APAP Dose                  In FDA
 Year           Author(s)            Stock         Sex          Route            mg/kg/day#         Score   review?

                                    Sprague-
     2001       Beck et al.                      Unspec            Oral         0, 125, 250, 500      5      No
                                    Dawley

                                    Sprague-                  Subcutaneous
     2012       Dean et al.                       Both                                0, 40           5      No
                                    Dawley                      injection

     2015   Lichtensteiger et al.    Wistar       Both           Gavage              0, 360           6      No

 2015a      Blecharz-Klin et al.     Wistar       Male             Oral              0, 5, 15        5.5     No

 2015b      Blecharz-Klin et al.     Wistar       Male             Oral              0, 5, 15        5.5     No

     2016   Blecharz-Klin et al.     Wistar       Male             Oral              0, 5, 15        5.5     Yes

     2017   Blecharz-Klin et al.     Wistar       Male             Oral              0, 5, 15        7.5     No

     2018   Blecharz-Klin et al.     Wistar       Male             Oral              0, 5, 15         7      No

                                                              Subcutaneous
     2018      Saeedan et al.        Wistar      Unspec                               0, 50           3      No
                                                                injection

     2019   Blecharz-Klin et al.     Wistar       Male             Oral              0, 5, 15        4.5     No

     2020       Klein et al.         Wistar       Both           Gavage              0, 350           7      No

                                    Sprague-                  Intraperitoneal
     2020       Koehn et al.                      Both                            0, 7.5, 15, 30      7      No
                                    Dawley                       injection

     2021     Rigobello et al.       Wistar       Both           Gavage            0, 35, 350         8      No

                                    Sprague-                  Subcutaneous             0,
     2021       Suda et al.                       Both                                                4      No
                                    Dawley                      injection       14.7 mg/kg/5 hrs.

                                    Sprague-                  Subcutaneous
     2022    Herrington et al.                    Both                              0, 51.97         4.5     No
                                    Dawley                      injection

     2023       Klein et al.         Wistar       Both           Gavage              0, 350           8      No

 #
  Doses are listed in mg/kg/day unless otherwise noted.



       Klein et al., 2023 Neurotoxicology and Teratology. Klein and colleagues sought to
evaluate how clinically relevant dosing of APAP affects neurodevelopment in rats. Their study
was designed to test the role of the endocannabinoid system in the effects of APAP on
neurobehavioral outcomes. As noted in my report, ECS disruption is a key mechanism of action
in APAP’s neurotoxic effects. Researchers administered pregnant Wistar rats with APAP (350
mg/kg/day) or water from gestational day 6 until delivery. They tested APAP’s interaction with
the ECS by giving rats treated with APAP an acute injection of WIN 55,212–2 (WIN, 0.3 mg/kg),
a non-specific cannabinoid agonist, prior to behavioral testing. Following the WIN injection, nest-

                                                          2
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seeking, open field, apomorphine-induced stereotypy, marble burying and three-chamber tests
were conducted in 10- (nest seeking), 24- (open field), 25- (apomorphine-induced stereotypy and
marble burying) or 30-days-old rats (three chamber). Given the two drugs tested, (APAP and WIN)
and two sexes (males and females) the researchers employed a three-way factorial design
evaluating both interaction effects and main effects. In interpreting this study, I focused on results
wherein there is a main effect of APAP (given the focus of this expert report) within which it is
appropriate to evaluate interactions with WIN or by sex, the other two factors.

        Klein et al., found behavioral alterations in rats treated with APAP “similar to some of the
core symptoms of ASD (stereotyped/repetitive behaviors) and ADHD (hyperactivity) …
suggest[ing] a role for gestational [APAP] exposure in increasing risk for these
neurodevelopmental disorders.” Specifically, they found that APAP-exposed infant female
offspring presented increased apomorphine-induced stereotypies (repetitive, involuntary, and
purposeless movements or behaviors). APAP-exposed female offspring also spent more time in
the central area of an open field. Both male and female APAP-exposed infant rats displayed
hyperactivity in the open field and increased repetitive behavior in the marble burying test (but
demonstrated normal sociability in the three-chamber test). The results showed that WIN mediated
some, but not all, of APAP’s toxic effects on neurodevelopment. Namely, APAP causes an
increased latency in the nest seeking behavior task in female pups tested at postnatal day ten, but
only in APAP/vehicle treated females. In APAP/WIN treated pups that effect was abrogated or
reversed.

        Limitations of this study are fairly limited mechanistic follow up with the drug interaction
effects. Strengths include testing of both male and female pups, blinded (observers “masked” to
treatment condition), consideration of litter as the statistical unit, range of behavioral tests utilized,
and the use of the WIN agonist to probe the endocannabinoid involvement.

        This study was not included in the FDA’s review of APAP’s neurotoxic effects.

Parameter          Scoring (Klein et al., 2023)                                                Score
Direction of Effect [APAP DNT (+) or not DNT (-)]                                                +
Controls           [Insufficient (0) Acceptable (1) Good (2)]                                    2
Sample Size        [Insufficient (0) Acceptable (1) Good (2)]                                     1
Outcomes           [Poor quality (0) Moderate Quality (1) Good Quality (3)]                      3
Multi-Dose         [One dose (0) Multi dose (1)]                                                 0
Blinding           [No blinding mentioned or conducted (0) Some Blinding (1) All "Blindable"     2
                   Parameters Blinded (2)
Bias/Conflict Flag Asterisk, does not alter score                                              Total 8




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                         Exhibit 1
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Journal Pre-proof


Gestational paracetamol exposure induces core behaviors of
neurodevelopmental disorders in infant rats and modifies response
to a cannabinoid agonist in females


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Teratology (2023), https://doi.org/10.1016/j.ntt.2023.107279


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GESTATIONAL PARACETAMOL EXPOSURE INDUCES CORE BEHAVIORS

       OF NEURODEVELOPMENTAL DISORDERS IN INFANT RATS AND

      MODIFIES RESPONSE TO A CANNABINOID AGONIST IN FEMALES

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                           na



ABSTRACT

Paracetamol (PAR) is an over-the-counter analgesic/antipyretic used during pregnancy
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worldwide. Epidemiological studies have been associating gestational PAR exposure
                Jo




with neurobehavioral alterations in the progeny resembling autism spectrum disorders

and attention-deficit hyperactivity disorder symptoms. The endocannabinoid (eCB)

dysfunction was previously hypothesized as one of the modes of action by which PAR

may harm the developing nervous system. We aimed to evaluate possible effects of

gestational exposure to PAR on male and female rat’s offspring behavior and if an acute

injection of WIN 55,212-2 (WIN, 0.3 mg/kg), a non-specific cannabinoid agonist, prior

to behavioral tests, would induce different effects in PAR exposed and non-exposed

animals. Pregnant Wistar rats were gavaged with PAR (350mg/kg/day) or water from
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gestational day 6 until delivery. Nest-seeking, open field, apomorphine-induced

stereotypy, marble burying and three-chamber tests were conducted in 10-, 24-, 25- or

30-days-old rats, respectively. PAR exposure resulted in increased apomorphine-

induced stereotyped behavior and time spent in the central area of the open field in

exposed female pups. Additionally, it induced hyperactivity in the open field and

increased marble burying behavior in both male and female pups. WIN injection

modified the behavioral response only in the nest seeking test, and opposite effects were

observed in control and PAR-exposed neonate females. Reported alterations are




                                                         of
relevant for the neurodevelopmental disorders that have been associated with maternal



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PAR exposure and suggest that eCB dysfunction may play a role in the action by which
                                              -p
PAR may harm the developing brain.
                                        re

Key words: Acetaminophen. Endocannabinoid system. Neurodevelopment.
                                 lP


Neurodevelopmental disorders.
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1.0 INTRODUCTION
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      Paracetamol (PAR, the recommended nonproprietary name of acetaminophen) is

an over-the-counter analgesic and antipyretic and possibly the most commonly utilized

medicine worldwide (Athersuch et al., 2018; McCrae et al., 2018). It is recommended

for treating pain and fever during pregnancy (Chambers, 2015). Approximately 40-50%

of pregnant women use PAR at least once during gestation worldwide (Bandoli et al.,

2019; Rifas-Shiman et al., 2020; Sznajder et al., 2022) and part of them repeat the use

for weeks during pregnancy (Bandoli et al., 2019). Considering PAR and some of its

metabolites cross the placental barrier (Conings et al., 2019; Nitsche et al., 2017) there

is fetal exposure as a result of maternal intake of this medicine.
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     There is great interest for the effects of in utero PAR exposure on the human

developing central nervous system (CNS). Several epidemiological studies have been

associating PAR intake during pregnancy with neurobehavioral alterations in the

progeny (e.g. (Avella-Garcia et al., 2016; Liew et al., 2016; Tovo-Rodrigues et al.,

2020). Meta-analyses of the epidemiological studies reported gestational exposure to

PAR as a risk factor for autism spectrum disorders (ASD) (Alemany et al., 2021;

Masarwa et al., 2018) and attention-deficit hyperactivity disorder (ADHD) symptoms

(Alemany et al., 2021; Gou et al., 2019; Masarwa et al., 2018) in the progeny. Although




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these results are concerning, they should be interpreted with caution considering the



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known limitations of observational studies (Wood, 2020). For instance, a bias analysis
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suggests that previously reported meta-analysis association between gestational PAR
                                      re
exposure and ADHD diagnosis in offspring may be better explained by unmeasured

confounding variables (Masarwa et al., 2020). Additional care must be taken when the
                               lP


studies measure outcomes with no clear definition, multifactorial etiology and assess
                         na



associations without established biological mechanism, which is the case of association

studies with gestational exposure to PAR (Laue et al., 2019; Masarwa et al., 2020).
                ur




Animal studies can investigate both causality and biological mechanisms and are
              Jo




necessary for the study of the potential effects of PAR on neurodevelopment (Zucker,

2017).

     Potential modes of action by which PAR may harm neurodevelopment have been

hypothesized, and include: excessive formation of its toxic metabolite N-acetyl-p-

benzoquinone imine (NAPQI); oxidative stress and immune-inflammatory activation;

altered brain-derived neurotrophic factor; cyclooxygenase-2 (COX-2) inhibition;

endocrine disruption; and endocannabinoid (eCB) system dysfunction (Bührer et al.,

2021).
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     eCB system comprises its endogenous mediators, the eCBs, the enzymes

responsible for the synthesis and degradation of eCBs and the cannabinoid receptors

type 1 (CB1) and type 2 (CB2) (Lu and Mackie, 2021). The most well studied eCBs are

N-arachidonoylethanolamide (anandamide, AEA) and 2-arachidonoylglycerol (2-AG),

arachidonic acid-derived lipid mediators. CB1 are abundant in the cortex, basal ganglia,

hippocampus and cerebellum (Cristino et al., 2006). CB2 are much less expressed in the

CNS than the first type, and are more present in vascular element cells and microglia

than neurons (Komorowska-Müller and Schmöle, 2021). The eCB system develops




                                                      of
early in life and regulate multiple steps of CNS development, including cell



                                                 ro
proliferation, differentiation, migration, axonal guidance and neuronal survival
                                            -p
(MacCarrone et al., 2014).
                                       re
     PAR may interact with the eCB system in several manners. First, it may inhibit

the COX-2 oxygenation of AEA and 2-AG (Duggan et al., 2011). This process alters the
                                lP


structure of these eCBs and terminates their actions (Urquhart et al., 2015). By
                          na



inhibiting this metabolic process, PAR may increase the availability of these mediators.

Secondly, PAR can interact with the eCB system through its metabolite, N-
                ur




arachidonoylphenolamine (AM404). This metabolite is the conjugation product from
              Jo




the deacetylated metabolite of PAR, p-aminophenol, with arachidonic acid by the

enzyme fatty acid amide hydrolase (FAAH) in the CNS. There is evidence of in vivo

conversion of this metabolite in the rat brain (Högestätt et al., 2005; Muramatsu et al.,

2016) and human cerebrospinal fluid (Sharma et al., 2017) after PAR administration.

AM404 inhibit: an intracellular carrier that deliver AEA to FAAH leading to its

hydrolysis (Kaczocha et al., 2012); the putative AEA membrane transporter (Beltramo

et al., 1997); and COX-2 in activated microglia (Perazzo et al., 2017). All these actions

may result in increased availability of eCBs. AM404 is also a potent vanilloid type-1
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receptor (TRPV1) agonist (Zygmunt et al., 2000) and a weak CB1 agonist (Beltramo et

al., 1997). TRPV1 and CB1 are co-localized receptors (Cristino et al., 2006) that often

have opposite actions on cellular responses and behavior (Cristino et al., 2020; Moreira

et al., 2012). Altogether these suggests PAR may interact with the developing eCB

system through multiple mechanisms.

      Therefore, the main objectives of this study were to evaluate in infant rats exposed

to PAR during gestation: 1) possible effects of gestational exposure to PAR on rat´s

offspring behavior and 2) the functionality of eCB system through investigating whether




                                                       of
an acute injection of a non-specific cannabinoid agonist prior to behavioral tests would



                                                  ro
induce different effects in PAR exposed and non-exposed animals. The behavioral
                                             -p
parameters included olfactory discrimination, locomotion and emotionality, drug-
                                       re
induced behavioral stereotypy, repetitive behavior and sociability.
                                lP


2.0 MATERIAL AND METHODS
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2.1.Animals, maternal exposure and perinatal procedures

      Male and female naive Wistar rats, derived from the Central Vivarium of the State
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University of Londrina, were mated overnight (1 male and 2 females per cage), and
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gestational day 0 (GD 0) was determined through vaginal smear the next morning, by

the presence of spermatozoa. On GD 6 females were distributed to either PAR or

control group by simple randomization and individually allocated to separate cages

ordered on shelves according to GDs (from the most advanced to the most recently

determined), regardless of the treatment and without treatment masking. Animals were

kept under controlled temperature (21 ± 2 ºC), 12h light/dark cycle (lights on at 6:00

AM) and with free access to tap water and rat chow (Nuvilab CR1®, Nuvital, Paraná,

Brazil).
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     PAR (Tylenol®, Johnson & Johnson, Brazil) was diluted in tap water and daily

administered, from GD 6 (to avoid possible effects on implantation) until delivery (post-

natal day 0, or PND 0) by gavage in the dose of 350mg/kg (n = 56). Control group

(CTL, n = 48) was gavaged with tap water. Sample size was based on previous studies

that detected behavioral alterations in PAR-exposed rats (Klein et al., 2020; Rigobello

et al., 2021). Dams were weighted every 3 days during gestation, starting at GD 6 and

administration volume adjusted according to body weight. PAR dose represents a

dosimetric adjustment of the dose of 500mg/day in humans (65 kg) (USEPA, 2006)




                                                      of
with an added security factor of 10 considering intraspecies variability (Nielsen et al.,



                                                 ro
2008).                                      -p
     At PND 4 litters were culled to 10 pups, keeping 5 animals from each sex
                                       re
whenever possible. Litters smaller than 8 pups were discarded. Litter weight was

registered on PND 0, 4, 7, 14 and 21, the day in which pups were weaned and separated
                                lP


by sex until behavioral evaluation or euthanasia. In the present study, litter was the
                          na



experimental unit (i.e., same-sex siblings were not used for the same experimental

group/procedure). To check the distribution of pups to each of the endpoints evaluated
                ur




readers may refer to the Supplementary Table 1. Exceeding animals were utilized in
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other experiments or euthanized. All experimental protocols were approved by the State

University of Londrina Ethics Committee for Animal Research (protocol nº

8522.2019.35).

2.2 WIN 55,212-2 injection and dosage

     Thirty minutes prior to all behavioral tests one male and one female pup from

each litter received an intraperitoneal (i.p.) injection of the non-specific cannabinoid

receptors agonist WIN 55,212-2 (WIN, 0.3 mg/kg, Sigma, USA) whereas another

couple from the same litter received a vehicle injection (VEH: 10% DMSO in saline).
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The WIN dosage was based on a study which described behavioral alterations in

juvenile Wistar rats (Trezza and Vanderschuren, 2008).

2.3 Behavioral tests

     All behavioral tests with exception of the marble burying test were recorded by a

video camera, linked to a computer in an adjacent room. Videos were analyzed by a

trained observer who was masked for the exposure and drug challenge conditions at the

moment of evaluation.




                                                     of
     Males were always tested before the females in order to avoid the influence of




                                                ro
possible sexual odor on the animal’s behavior. Experiments were either conducted on

the morning (8:00 AM – 12:00 PM) or the afternoon (13:00 PM – 18:00 PM) as
                                           -p
described below.
                                      re
2.3.1 Nest-seeking test (olfactory discrimination)
                               lP


        On the morning of the PND 10, the latency of pups to reach nest bedding based

on olfactory cues was evaluated as described by Schneider & Przewłocki (2005).
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Animals were individually placed in the center of a rectangular acrylic cage with
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dimensions (length/width/height in cm) 20 x 8 x 8 divided into 3 equal compartments
              Jo




delimited by permanent ink and evaluated for 3 min. One of the side compartments

contained 10g of bedding from testing pup home cage, while on the opposite side there

was 10g of fresh clean bedding. A positive entry was considered when forepaws and

head crossed the line towards one of the compartments.

2.3.2 Open-field (motor activity and anxiety-like behavior)

        On the afternoon of PND 24, animals were placed individually in a circular

wooden arena (72 cm in diameter), divided into 12 equal quadrants, and left 5 min to

freely explore. Rearing behavior (standing on hind legs) and the number of crossed

quadrants were evaluated to estimate motor activity. A crossing was considered when
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                                Journal Pre-proof

the rat placed all four paws into another quadrant. Time spent in central quadrants of the

arena and in rostral (self-grooming of nose and head region) and body grooming (trunk,

tail and anogenital regions) were evaluated as measures of anxiety-like behavior

(Estanislau et al., 2013). The apparatus was cleaned with a 5% ethanol solution and

dried with paper towels between trials.

2.3.3 Apomorphine-induced stereotyped behavior

      On the morning of PND 25, animals received a subcutaneous (s.c.) injection of




                                                       of
apomorphine (0.3 mg/kg, Sigma, USA). Immediately after, they were individually




                                                  ro
placed in a transparent acrylic cage and stereotyped behavior was scored every 10 min

(10 seconds of observation) for 120 min. Scores ranged from 0 (asleep or stationary) to
                                             -p
6 (continual licking and/or gnawing) as described by Setler et al. (Setler et al., 1976).
                                          re
The intensity of stereotypies was evaluated by cumulatively summing the 12 obtained
                                lP


scores.

2.3.4 Marble burying (repetitive behavior)
                          na



          On the morning of PND 25, pups were individually placed in a polypropylene

cage (47 x 27 x 15) covered with 5 cm of clean wood shavings and with 16 glass
                 ur




marbles distributed in 4 rows with 4 marbles each on shavings’ surface. The animal was
               Jo




left to freely explore the apparatus for 30 min. High definitions photos of the testing

cages were taken at the end of the session and the number of buried marbles (>50%

marble covered by shavings) was counted by two independent and trained observers

(Thomas et al., 2009).

2.3.5 Three-chamber test (sociability)

          On the afternoon of PND 30, animals were submitted to the three-chamber test

to evaluate social preference over a novel object. Each animal was placed in a central

area of a wooden apparatus (120 x 40 x 40) divided into three chambers of equal
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proportions. Lateral chambers were initially closed by dividers, so the animal would be

habituated only to the central area. Ten min later, an age- and sex-matched unfamiliar

rat was placed in one of the side chambers, inside a plastic basket with holes (social

area). On the opposite chamber, a similar empty basket was placed (novel object area).

The dividers were then opened so the animal could explore all three chambers for 10

min. Time spent in each of the three areas was recorded. An entry began when the rat

placed all four paws into one of the three chambers and finished only after placing them

into another. The sociability index as follows [(time in the social area – time in the




                                                        of
novel object area) / (time in the social area + time in the novel object area)] * 100. This



                                                  ro
index allows the evaluation of social preference over new object. Time spent in sniffing
                                             -p
near the basket containing the other animal was also counted. The apparatus was
                                        re
cleaned with a 70% ethanol solution and dried with paper towels between trials

(Bambini-Junior et al., 2014).
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2.4 Statistical analysis
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      Data were initially explored for normality (Shapiro-Wilk test) and homogeneity of
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variances (Levene's test). Raw or transformed data reached the criteria (p > 0.01) for
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parametric tests and were analyzed by a factorial ANOVA with gestational exposure to

PAR, sex and WIN injection as factors (2 x 2 x 2 model). In the occurrence of

significant interactions among the three terms, data were split into sex and two-way

ANOVAs were used to describe the significant differences. In the case of two-way

interaction effects, interaction plots were created to interpret the results. Partial eta

squared (ηp2) alongside their 90% confidence intervals (CI) were determined for all

endpoints as a measure of effect size (Lakens, 2013). Cohen’s d was calculated for

endpoints affected by exposure in order to compare effect sizes with relevant literature

(e.g., effects of prenatal manipulations on similar dependent variables). While p values
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indicate the probability of differences to have occurred by random chance, effect sizes

determine how large are standardized mean differences (e.g., Cohen’s d) or how much a

factor influence in variance (e.g., ηp2). Although CIs are commonly reported as 95%

around sample means, it is recommended to report 90% CIs when dealing with specific

effect sizes (Steiger, 2004). IBM-SPSS Windows version 26 was used to analyze the

data and conclusions were established at p ≤ 0.05.




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3 RESULTS




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3.1. General toxicity

       From 113 litters, 9 were excluded (6 CON and 3 PAR) because they contained
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less than 8 pups. The 104 litters used for the present study contained 8-16 pups
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including stillborn, which occurred in 1 out of 48 CON litters (1 stillborn) and in 2 out
                                  lP


of 56 PAR litters (1 stillborn in each of the 2 affected litters). Student’s t test indicated

that the number of pups per litter did not differ between groups (t(102)= 1.68, p= 0.096)
                           na



and the means  SD for the CON and PAR groups were, respectively 12.71  1.56 and

12.18  1.64 pups. At birth, offspring sex ratios did not differ between control [303
                 ur




females (0.49%)] and PAR-exposed [358 females (0.52%)] groups (t(102)= 0.820, p=
               Jo




0.792) and barely varied after litter standardization (Supplementary Table 1).

       There was no treatment effect on dams’ body weight profiles (F(3.98, 374.09)= 1.90,

p= 0.11) during the gestational and lactational periods (Fig. 1A) with PAR treatment

explaining only 2% of data variance of dam’s body weight (ηp2= 0.02, 90% CI [0.00,

0.04]). On the other hand, RMANOVA indicated an effect of time on body weight

(F(3.98, 374.09)= 989.08, p< 0.001), reflecting the changes that are expected to occur in

these periods. Time explains 91% of data variance (ηp2= 0.91, 90% CI [0.90, 0.92]).

There were 8 missing values (3 CON and 5 PAR) for GD21 because dams were at
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parturition at the moment of weighing. Considering RMANOVA cannot handle missing

values at any timepoint, these subjects were not included in this statistical test. For

pups’ body weight in the first three weeks of life, RMANOVA also indicated a time

effect (F(1.63, 166.46)= 3600.71, p< 0.001) but PAR exposure did not affect it (F(3.98, 374.09)=

8.49, p= 0.48) (Fig. 1B). Time explained 97% of variance in groups (ηp2= 0.97, 90% CI

[0.97, 0.98]) while PAR exposure accounted for less than 1% (ηp2= 0.08, 90% CI [0.03,

0.16]).




                                                           of
                                                     ro
      (A) DAMS                                         (B) PUPS
                                                -p
                                          re
                                   lP
                            na




Fig. 1. Body weight of dams during gestation and lactation (A) and pups (average per
                  ur




litter) during lactation (B). Dams were treated (PAR) or not (CTL) with paracetamol
                Jo




from gestational day 6 to post-natal day 0. Data are means ± SD of 45-56 dams and

litters in each group. RMANOVA, p> 0.05 for PAR treatment/exposure effect.

3.2. Behavioral tests

      Data were graphed to reflect the statistically significant differences on three- or

two-way ANOVA models. Exact number of animals for each of the experimental

groups according to exposure, sex and drug challenge, means and 95% CI for all the

analyzed parameters, including non-transformed values, are exhibited in Supplementary
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Table 2, and statistical values (F, df, p and ηp2 with 90% CIs) from all the behavioral

endpoints in Supplementary Table 3.

3.2.1. Nest-seeking test (olfactory discrimination)

      None of the pups exhibited eye opening at the time of testing. Values of latency to

reach nest bedding, in seconds, passed the criteria for parametric analysis only after

transformation into natural logarithm (Ln), therefore Fig. 2 shows transformed values.

Three-way ANOVA indicated an interaction effect among the three factors (exposure,




                                                        of
sex and injection) over latency to reach nest bedding (F(1; 94) = 5.593, p = 0.020, ηp2 =




                                                  ro
0.06, 90% CI [0.01, 0.15]). The split of the data into sex followed by two-way
                                             -p
ANOVAs indicated that the exposure by injection interaction was not significant in

males (F(1; 48) = 1.001, p = 0.322) but it was in females (F(1; 46) = 5.641, p = 0.022). In
                                        re
females, exposure by injection interaction explained 11% of data variance (ηp2 = 0.11,
                                 lP


90% CI [0.01, 0.26]) and there was a difference of 0.96 standard deviations in latency

values among groups (Cohen’s d = 0.96). There was a cross-over interaction between
                          na



the factors in females (Supplementary Fig. 1). In VEH-injected females, PAR exposure
                 ur




increased latency to reach nest bedding in comparison to CTL group. However, WIN
               Jo




injection reversed the response profiles, reducing latency values for PAR-exposed

females and increasing for CTL group (Fig. 2).
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Fig. 2. Evaluation of latency to reach nest bedding by female and male rats exposed or




                                                         of
not to PAR during gestation and injected with WIN or VEH 30 min prior to the nest-




                                                   ro
seeking test on PND 10. ✽ p < 0.05 exposure x injection interaction effect only in
                                              -p
females in a two-way ANOVA. Data are means ± 95% CI of 11-14 animals per group.

CTL: control; PAR: paracetamol; WIN: WIN 55,212-2; VEH: vehicle.
                                         re
                                  lP


3.2.2 Open field (motor activity and anxiety-like behavior)
                           na



      Independently of sex or injection, PAR-exposed rats crossed more quadrants

(ambulation), as indicated by a significant exposure effect in the three-way ANOVA
                 ur




(F(1; 96) = 4.429, p = 0.038) (Fig. 3A). Exposure factor accounted for 4% of ambulation
               Jo




data variance (ηp2 = 0.04, 90% CI [0.00, 0.13]) and average activity of PAR-exposed

animals is 0.43 standard deviations greater than in CTL animals (Cohen’s d = 0.43).

Three-way ANOVA also indicated an interaction of exposure by sex on time spent in

the central area (F(1; 96) = 6.301, p = 0.014, ηp2 = 0.06, 90% CI [0.01, 0.15]). The split of

the data into sex followed by two-way ANOVAs indicated that the exposure effect was

significant in females (F(1; 52) = 5.067, p = 0.029) but not in males (F(1; 44) = 1.845, p =

0.181) (Fig 3B). The exposure effect in females was associated with a 9% of data

variability (ηp2 = 0.09, 90% CI [0.01, 0.22]). Average time in central area was 0.63
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standard deviations higher than in CTL females (Cohen’s d = 0.63). Therefore,

independently of WIN injection, PAR-exposed females spent more time in the central

area of the open field. No other effects of exposure, sex, WIN injection or interaction

among them were observed (Supplementary Table 3).

      (A)                               (B)




                                                        of
                                                   ro
                                              -p
                                        re
Fig. 3. Behavioral evaluation in the open field of rats exposed or not to PAR during
                                 lP

gestation and injected with WIN or VEH 30 min prior to the test on PND 24. (A)

Ambulation in the open field. ✽ p < 0.05 exposure effect in three-way ANOVA. (B)
                           na



Time spent in central area of the arena. ✽ p < 0.05 exposure effect in two-way
                 ur




ANOVA. Data are means ± 95% CI of 11-15 animals per experimental group. CTL:

control group; PAR: paracetamol.
               Jo




3.2.3 Apomorphine-induced stereotyped behavior

      Three-way ANOVA indicated an interaction effect of exposure by sex on

stereotypy intensity (F(1; 124) = 4.407, p = 0.038, ηp2 = 0.03, 90% CI [0.00, 0.10]). The

split of the data into sex followed by two-way ANOVAs indicated that the exposure

effect was significant only in females (F(1; 66) = 17.808, p = 0.000) but not in males (F(1;

58) = 0.618, p = 0.435) (Fig 4). Exposure factor in females accounted for 21% of data


variability (ηp2 = 0.21, 90% CI [0.08, 0.34]) and average stereotypy intensity of PAR-
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                                Journal Pre-proof

exposed females was 1.04 standard deviations greater than CTL females (Cohen’s d =

1.04). In this way, independently of injection, PAR exposure resulted in increased

stereotypy intensity in female pups.




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                                            -p
Fig. 4. Assessment of behavioral stereotypy induced by apomorphine at PDN 25 in
                                       re
female and male rats exposed or not to PAR during gestation and injected with WIN or
                                lP


VEH 30 min prior to apomorphine. ✽ p <0.05 exposure effect only in females in a two-
                          na



way ANOVA. Data are means ± 95% CI of 15-19 animals per experimental group.

CTL: control, PAR: paracetamol.
                ur
              Jo




3.2.4 Marble burying (repetitive behavior)

     The number of marbles buried passed the criteria for parametric analysis only

after transformation into squared root. Independently of sex or injection, PAR-exposed

pups buried more marbles, as indicated by a significant exposure effect in the three-way

ANOVA (F(1, 118) = 5.21, p = 0.024) (Fig. 5A). PAR exposure accounted for 4% of data

variance (ηp2 = 0.04, 90% CI [0.00, 0.12]). Average buried marbles by exposed animals

were 0.42 standard deviations greater than by CTL animals (Cohen’s d = 0.42).

Moreover, independently of exposure or injection, females buried more marbles than

males, as indicated by a significant sex effect (F(1,118) = 5.07, p = 0.026) (Fig 5B).
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Similar to exposure, sex effect is also associated with 4% of variance (ηp2 = 0.04, 90%

CI [0.00, 0.11]).

      (A)                                (B)




                                                     of
                                                ro
Fig. 5. Evaluation of marble burying in PDN 25 rats exposed or not to PAR during
                                               -p
gestation and injected with WIN or VEH 30 min prior to test. (A) ✽ p < 0.05 exposure
                                      re
effect in three-way ANOVA (B) ✽ p < 0.05 sex effect in three-way ANOVA. Data are
                               lP


means ± 95% CI of 14-18 animals per experimental group.
                         na




3.2.5 Three-chamber test (sociability)
                 ur




      No effects of exposure, sex, WIN injection or interaction term among them were
               Jo




observed in the parameters evaluated in this test. The results are displayed in

Supplementary Table 2.
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4. DISCUSSION

     The major finding of our study was that PAR exposure altered the response to a

non-specific cannabinoid receptors agonist, WIN, in an olfactory discrimination task in

female neonates. Additionally, PAR-exposed infant females presented increased

apomorphine-induced stereotypies and spent more time in the central area of an open

field. Exposed male and female infant rats presented hyperactivity in the open field and

increased repetitive behavior in the marble burying test, but normal sociability in the

three-chamber test.




                                                      of
     Cannabinoid drugs administration induces dose- (Sañudo-Peña et al., 2000), sex-



                                                 ro
(Wiley et al., 2021) and age-dependent (Marco et al., 2004) behavioral alterations in
                                            -p
rodents. Generally, CB1 agonists induce stimulating effects in low doses and sedative
                                      re
and cataleptic effects in higher doses (Sañudo-Peña et al., 2000). In peripubertal rats,

WIN, a CB1/CB2 full agonist, induced: hyperlocomotion on the open field in the lower
                                lP


doses but no locomotor alterations in the highest (0.25, 1.25 and 2.5 mg/kg, i.p., male
                         na



Wistar rats, PND 28-35) (Pandolfo et al., 2007); reduction in social play behaviors but

no alterations in locomotion (0.3 mg/kg, i.p., male Wistar rats, PND 28-30) (Trezza and
                ur




Vanderschuren, 2008); impaired object and social recognition, reduction in social
              Jo




interaction and increased spontaneous social behavior (1.2 mg/kg, i.p. male Wistar rats,

PND 40) (Schneider et al., 2008); hypolocomotion and analgesia (3 and 10 mg/kg, s.c.,

male and female Wistar rats PND 20 and 25) (Marco et al., 2004); and catalepsy-like

immobility (5 mg/kg, i.p., male Sprague-Dawley rats, PND 20) (Rudenko et al., 2012).

We selected the 0.3 mg/kg because it selectively altered social play behavior without

altering locomotion (Trezza and Vanderschuren, 2008). Considering that even lower

doses than 0.3 induce behavioral alterations in prepubertal (Pandolfo et al., 2007) and

adult rats (Polissidis et al., 2009) the dose selected in the present study seemed
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appropriate to the objective of investigating possible cannabinoid modulation of PAR-

induced behavioral effects.

      Effect sizes are arguably the most important outcome of empirical studies. They

can inform about the practical significance of the results (Ellis, 2010) and facilitate

cumulative science (Lakens, 2013). Although there are several ways to asses effect

sizes, its final interpretation is accomplished by comparison to relevant and compatible

data and not according to arbitrary benchmarks (Lakens, 2013). The comparison of

effect sizes obtained in the present study with calculated effect sizes from other




                                                         of
published developmental neurotoxicity studies demonstrates that effects observed in the



                                                   ro
nest-seeking test and in apomorphine-induced stereotypy are in the range of other
                                              -p
studies (Supplementary Table 4). Noteworthy, both these endpoints presented effect
                                        re
sizes' CI that do not include 0, indicating that sufficiently similar experimental

conditions would replicate the observed effect. Other endpoints (i.e., time in central area
                                 lP


of and ambulation on the open field and marble burying) presented effect sizes below
                           na



the range based on three other publications. Of the latter, only time in the central area of

the open field did not include null in its effect size’ CI. However, part of the studies
                 ur




used for comparison were not designed in accordance with developmental neurotoxicity
               Jo




guidelines and the lack of some premises (e.g. controlling for litter effects), may have

inflated their effect sizes (Jiménez and Zylka, 2021).

      Sex is known to modulate neurodevelopment and how toxicants affect it. In the

present study, prenatal PAR exposure altered a higher number of endpoints in females

than in males. Association studies do not clearly indicate if prenatal PAR exposure

differently affects girls and boys (Alemany et al., 2021), with contradictory reports

regarding sex-dependent effects (Golding et al., 2020; Liew et al., 2014). Only a few

studies investigated and compared consequences of early life PAR treatment/exposure
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on male and female rodent behavior. Some of these reported that males presented higher

number of altered behavioral endpoints than females (Baker et al., 2023; Harshaw and

Warner, 2022; Rigobello et al., 2021), but others did not (Herrington et al., 2022; Klein

et al., 2020; Philippot et al., 2017). Considering there are few similarities between these

studies regarding species, dosage, timing and route of exposure/treatment and other

relevant variables, it may still be early to conclude about sex-dependency in PAR-

induced developmental neurotoxicity. Interestingly, Baker et al. (2023) showed both

sex-independent and sex-dependent altered gene expression in prefrontal cortex as a




                                                        of
consequence of prenatal PAR exposure in mice. One of the alterations detected



                                                  ro
specifically in exposed females was increased CYP450 gene expression pathways
                                             -p
(Baker et al., 2023). This finding may be especially relevant when considering sex-
                                         re
differences in PAR-induced neurotoxicity because CYP2E1 is responsible for PAR

oxidation and the formation of the toxic metabolite NAPQI. Noteworthy is that basal
                                 lP


expression of CYP2E1 is higher in females than males since the fetal period (Penaloza
                          na



et al., 2020) so its positive modulation by PAR exposure could play a role in some of

the sex-specific neurotoxic endpoints.
                 ur




      The nest-seeking (or homing behavior) test evaluates the capability of pups to
               Jo




discriminate between fresh and home bedding trough olfactory cues (Gregory and Pfaff,

1971). Interestingly, this was the only behavior influenced by WIN injection, inducing

opposite effects in CTL and PAR-exposed female neonates. Similarly, the injection of a

FAAH inhibitor previous to the nest-seeking test attenuated the increased latency

induced by gestational exposure to valproic acid in rats, an established animal model of

autism, but did not affect the behavior of CTL rats (Servadio et al., 2016). Both results

could be attributable to a direct/indirect activation of CB1 and CB2 in olfactory

structures, especially expressed in the olfactory bulb and piriform cortex, and that seem
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to play a role in olfactory processing (Terral et al., 2020). Given the higher efficiency of

CB1 receptor in females, they are more sensitive than males to most effects of

cannabinoids (Sholler et al., 2021). This could explain why females but not males were

affected by WIN injection in this task. Importantly, this was the earliest behavioral

endpoint evaluated in pups (at PND10), which suggest age-dependent alterations in the

endocannabinoid system functionality as a consequence of PAR exposure in females.

      Apomorphine induces stereotypies through the activation of dopaminergic

receptors mainly in the substantia nigra-striatum pathway (Ernst and Smelik, 1966).




                                                        of
Quantification of behavioral responses to apomorphine has been used in different



                                                   ro
species as an indication of dopaminergic system functionality and to model movement
                                              -p
disorders involving behavioral stereotypies (Langen et al., 2011). In this way, the
                                        re
increased apomorphine-induced behavioral stereotypies in females exposed to PAR

indicates enhanced dopaminergic signaling. Due to its reproducibility across studies
                                 lP


conducted in our laboratory (Klein et al., 2020; Rigobello et al., 2021) this result may be
                           na



a behavioral footprint of maternal PAR exposure in infant rats.

      Burying of non-aversive objects, such as glass marbles, is a naturally occurring
                 ur




behaviors in rodents. There is an intense and yet inconclusive debate about the validity
               Jo




of the marble burying test for investigating either anxiety or compulsive symptoms (de

Brouwer et al., 2019; Dixit et al., 2020). In the anxiety perspective, the higher the

number of marbles buried, the higher the anxiety. For the compulsive perspective,

increased burying indicates increased repetitive digging. Considering PAR-exposed

females spent more time in the central area of the open field, which is indicative of a

decreased anxiety state (Prut and Belzung, 2003), altered emotionality is less likely to

explain the result observed in marble burying test. Increased marble burying in PAR-

exposed male and female infant rats is in alignment with the enhanced stereotypy in
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response to apomorphine in PAR-exposed females, which point to a phenotype of

repetitive and stereotyped behaviors. Considering stereotyped/repetitive behaviors are

one of the core symptoms of ASD (American Psychiatric Association, 2014), this may

be relevant for the previously described risk for ASD as a consequence of gestational

PAR exposure.

      PAR during gestation induced hyperactivity in infant male and female rats.

Previous research reported altered locomotion as a result of neurodevelopmental PAR

exposure (Blecharz-Klin et al., 2017; Klein et al., 2020; Philippot et al., 2018, 2017;




                                                       of
Rigobello et al., 2021; Viberg et al., 2014), although there is also a report of lack of



                                                  ro
effect (Saad et al., 2016). It is noteworthy that hyperactivity is the most consistently
                                             -p
observed outcome in human association studies considering gestational PAR exposure
                                        re
as a factor (Bauer et al., 2018).
                                    lP


      Some behavioral alterations induced by gestational PAR exposure observed in this

study may share some neurobiological similarities (e.g., stereotyped and repetitive
                           na



behavior and hyperactivity). Although various brain regions govern repetitive behavior,

basal ganglia seem to play a central role in regulating these (Kim et al., 2016; Wilkes
                 ur




and Lewis, 2018). The basal ganglia, which comprises the striatum, globus pallidus,
               Jo




subthalamic nucleus and substantia nigra, could also be involved in the pathophysiology

of other movement disorders, such as hyperactivity (Spagnolo et al., 2021). Dopamine

is a major neurotransmitter in basal ganglia neuronal synapses (Vicente et al., 2020) and

altered dopaminergic neurotransmission was reported as a consequence of

developmental exposure to PAR (Blecharz-Klin et al., 2017). These point toward basal

ganglia (striatal) dopaminergic system as an especially vulnerable target of the potential

developmental neurotoxic effects of PAR.
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     Complementarily to our study, Philippot et al. (2018) investigated the effects of

co-injection of PAR (2 doses of 30 mg/kg, s.c.) and WIN (1 mg/kg, s.c.) in 10-day-old

mice. This protocol resulted in reduced locomotion and habituation capability in adult

mice, which may be at least partially attributable to reduced transcript levels of

synaptophysin and TrkB in hippocampus and FAAH in frontal cortex (Philippot et al.,

2018). The objective of Philippot`s study (to investigate the developmental

neurotoxicity of combined PAR and WIN administration) and ours (to investigate the

mechanisms involved in the behavioral alterations induced by PAR) were different but




                                                      of
taken together, both studies support a role for eCB system dysfunction in the potential



                                                 ro
mode by which PAR may harm neurodevelopment and induce behavioral alterations.
                                            -p
     Summing up, our study demonstrates altered response to a CB1/CB2 agonist,
                                       re
enhanced induced-stereotypy and reduced anxiety state in females but not males

gestationally exposed to PAR. Exposed males and females presented hyperactivity and
                                 lP


increased repetitive behavior. Observed behavioral alterations are similar to some of the
                          na



core symptoms of ASD (stereotyped/repetitive behaviors) and ADHD (hyperactivity),

and this may suggest a role for gestational PAR exposure in increasing risk for these
                ur




neurodevelopmental disorders. Data point to increased susceptibility of females for the
              Jo




neurotoxic effects of PAR during development and to eCB dysfunction as a mode of

action by which PAR may harm the developing brain.



Conflict of interest statement

Nothing declared.



Acknowledgements
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Declaration of interests

☒The authors declare that they have no known competing financial interests or personal
relationships that could have appeared to influence the work reported in this paper.

☐The authors declare the following financial interests/personal relationships which may be
considered as potential competing interests:




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HIGHLIGHTS
     Prenatal exposure to paracetamol increases motor activity and repetitive

      behavior in male and female rats.

     Increased apomorphine-induced stereotypies and reduced anxiety were observed

      in paracetamol-exposed females.

     Prenatal paracetamol modified the response to a cannabinoid agonist in exposed

      females.

     Results suggest a role for paracetamol in affecting neurodevelopment.




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     Paracetamol may harm the developing brain by inducing endocannabinoid



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